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Fill in this information to identify the case:

               Absolut Facilities Management, LLC
Debtor Name __________________________________________________________________

                                       Eastern
United States Bankruptcy Court for the:_______________________ District of New   York
                                                                           ________
                                                                     (State)

Case number:    19-76260 (AST)
                _________________________




Official Form 426
Periodic Report Regarding Value, Operations, and Profitability of Entities
in Which the Debtor’s Estate Holds a Substantial or Controlling Interest
                                                                                                                                         12/17


                                             10/11/2019 on the value, operations, and profitability of those entities in which a
           This is the Periodic Report as of __________
           Debtor holds, or two or more Debtors collectively hold, a substantial or controlling interest (a “Controlled Non-Debtor
           Entity”), as required by Bankruptcy Rule 2015.3. For purposes of this form, “Debtor” shall include the estate of such
           Debtor.
            [Name of Debtor] holds a substantial or controlling interest in the following entities:
               Name of Controlled Non-Debtor Entity                                     Interest of the Debtor           Tab #
            Absolut Center for Nursing and Rehabilitation at Eden, LLC ("Eden")                              54%
            Absolut Center for Nursing and Rehabilitation at Endicott, LLC ("Endicott")                      54%
            Absolut Center for Nursing and Rehabilitation at Dunkirk, LLC ("Dunkirk")                        54%
            Absolut Center for Nursing and Rehabilitation at Houghton, LLC ("Houghton")                      54%
            Absolut Center for Nursing and Rehabilitation at Salamanca, LLC ("Salamanca")                    54%
           This Periodic Report contains separate reports (Entity Reports) on the value, operations, and profitability of each
           Controlled Non-Debtor Entity.

           Each Entity Report consists of five exhibits.
               Exhibit A contains the most recently available: balance sheet, statement of income (loss), statement of cash flows,
                and a statement of changes in shareholders’ or partners’ equity (deficit) for the period covered by the Entity Report,
                along with summarized footnotes.
               Exhibit B describes the Controlled Non-Debtor Entity’s business operations.

               Exhibit C describes claims between the Controlled Non-Debtor Entity and any other Controlled Non-Debtor Entity.

               Exhibit D describes how federal, state or local taxes, and any tax attributes, refunds, or other benefits, have been
                allocated between or among the Controlled Non-Debtor Entity and any Debtor or any other Controlled Non-Debtor
                Entity and includes a copy of each tax sharing or tax allocation agreement to which the Controlled Non-Debtor
                Entity is a party with any other Controlled Non-Debtor Entity.

               Exhibit E describes any payment, by the Controlled Non-Debtor Entity, of any claims, administrative expenses or
                professional fees that have been or could be asserted against any Debtor, or the incurrence of any obligation to make
                such payments, together with the reason for the entity’s payment thereof or incurrence of any obligation with
                respect thereto.

           This Periodic Report must be signed by a representative of the trustee or debtor in possession.




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           The undersigned, having reviewed the Entity Reports for each Controlled Non-Debtor Entity, and being familiar with the Debtor’s
           financial affairs, verifies under the penalty of perjury that to the best of his or her knowledge, (i) this Periodic Report and the

                                                                                                                                  
           attached Entity Reports are complete, accurate, and truthful to the best of his or her knowledge, and (ii) the Debtor did not cause
           the creation of any entity with actual deliberate intent to evade the requirements of Bankruptcy Rule 2015.3



                                         
           For non-individual
           Debtors:                           /S/ Michael Wyse
                                            _____________________________________________
                                            Signature of Authorized Individual
                                             Michael Wyse
                                            _____________________________________________
                                            Printed name of Authorized Individual

                                                 10/11/2019
                                            Date _______________
                                                   MM / DD      / YYYY

           For individual Debtors:        ___________________________________________               ____________________________________________
                                            Signature of Debtor 1                                      Signature of Debtor 2

                                            _______________________________________                    ____________________________________________
                                            Printed name of Debtor 1                                   Printed name of Debtor 2

                                            Date _______________
                                                   MM / DD      / YYYY                                Date _______________
                                                                                                              MM / DD       / YYYY   




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                 Absolut Facilities Management, LLC
                 _______________________________________________________                                  19-76260 (AST)
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                Exhibit A: Financial Statements for             Eden, Endicott, Dunkirk, Houghton, and Salamanca


The Debtor is not in possession of this information. In 2018, control of Endicott was transferred to Upstate Services
Group (“USG”) and control of the other Controlled Non­Debtor Entities was transferred to Personal Healthcare LLC
("Personal Healthcare"), pursuant to the terms of operator transfer agreements ("OTAs"). Under the terms of the OTAs,
the Debtor maintained ownership of the Controlled Non-Debtor Entities, however, Personal Healthcare obtained control
over the Controlled Non-Debtor Entities’ business and financial affairs, and the Debtor no longer controls the
Controlled Non-Debtor Entities nor has access to their facilities or financial information. The Debtor has requested this
information from USG and Personal Healthcare. To the extent the Debtor is able to obtain additional information, the
Debtor will supplement this report.




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                Absolut Facilities Management, LLC
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               Exhibit A-1: Balance Sheet for    Eden, Endicott, Dunkirk, Houghton, and Salamanca as of October 11, 2019

           [Provide a balance sheet dated as of the end of the most recent 3-month period of the current fiscal year and as of the
           end of the preceding fiscal year.

           Describe the source of this information.]




The Debtor is not in possession of this information. As noted above, in 2018, control of Endicott was transferred to
USG and control of the other Controlled Non­Debtor Entities was transferred to Personal Healthcare, pursuant to the
terms of certain OTAs. Under the terms of the OTAs, the Debtor maintained ownership of the Controlled Non-Debtor
Entities, however, Personal Healthcare obtained control over the Controlled Non-Debtor Entities’ business and
financial affairs, and the Debtor no longer controls the Controlled Non-Debtor Entities nor has access to their facilities or
financial information. The Debtor has requested this information from USG and Personal Healthcare. To the extent the
Debtor is able to obtain additional information, the Debtor will supplement this report.




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   Debtor Name
                   Absolut Facilities Management, LLC
                   _______________________________________________________                                    19-76260 (AST)
                                                                                                  Case number_____________________________________




                 Exhibit A-2: Statement of Income (Loss) for           Eden, Endicott, Dunkirk, Houghton, and Salamanca for period ending
                                                                       October 11, 2019
                 [Provide a statement of income (loss) for the following periods:

                  (i) For the initial report:

                     a. the period between the end of the preceding fiscal year and the end of the most recent 3-month period of
                        the current fiscal year; and

                     b. the prior fiscal year.

                 (ii) For subsequent reports, since the closing date of the last report.

                 Describe the source of this information.]




The Debtor is not in possession of this information. As noted above, in 2018, control of Endicott was transferred to
USG and control of the other Controlled Non­Debtor Entities was transferred to Personal Healthcare, pursuant to the
terms of certain OTAs. Under the terms of the OTAs, the Debtor maintained ownership of the Controlled Non-Debtor
Entities, however, Personal Healthcare obtained control over the Controlled Non-Debtor Entities’ business and
financial affairs, and the Debtor no longer controls the Controlled Non-Debtor Entities nor has access to their facilities or
financial information. The Debtor has requested this information from USG and Personal Healthcare. To the extent the
Debtor is able to obtain additional information, the Debtor will supplement this report.




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              Exhibit A-3: Statement of Cash Flows for           Eden, Endicott, Dunkirk, Houghton, Salamanca for period ending
                                                                 October 11, 2019
              [Provide a statement of changes in cash position for the following periods:

               (i) For the initial report:

                    a. the period between the end of the preceding fiscal year and the end of the most recent 3-month period of
                      the current fiscal year; and

                    b. the prior fiscal year.

              (ii) For subsequent reports, since the closing date of the last report.

              Describe the source of this information.]




The Debtor is not in possession of this information. As noted above, in 2018, control of Endicott was transferred to
USG and control of the other Controlled Non­Debtor Entities was transferred to Personal Healthcare, pursuant to the
terms of certain OTAs. Under the terms of the OTAs, the Debtor maintained ownership of the Controlled Non-Debtor
Entities, however, Personal Healthcare obtained control over the Controlled Non-Debtor Entities’ business and financial
affairs, and the Debtor no longer controls the Controlled Non-Debtor Entities nor has access to their facilities or
financial information. The Debtor has requested this information from USG and Personal Healthcare. To the extent the
Debtor is able to obtain additional information, the Debtor will supplement this report.




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                Exhibit A-4: Statement of Changes in Shareholders’/Partners’ Equity (Deficit) for
                              Eden, Endicott, Dunkirk, Houghton, and Salamanca, for period ending October 11, 2019

                [Provide a statement of changes in shareholders’/partners equity (deficit) for the following periods:

                 (i) For the initial report:

                      a. the period between the end of the preceding fiscal year and the end of the most recent 3-month period of
                        the current fiscal year; and

                      b. the prior fiscal year.

                (ii) For subsequent reports, since the closing date of the last report.

                 Describe the source of this information.]




The Debtor is not in possession of this information. As noted above, in 2018, control of Endicott was transferred to USG
and control of the other Controlled Non-Debtor Entities was transferred to Personal Healthcare, pursuant to the terms of
certain OTAs. Under the terms of the OTAs, the Debtor maintained ownership of the Controlled Non-Debtor Entities,
however, Personal Healthcare obtained control over the Controlled Non-Debtor Entities’ business and financial affairs,
and the Debtor no longer controls the Controlled Non-Debtor Entities nor has access to their facilities or financial
information. The Debtor has requested this information from USG and Personal Healthcare. To the extent the Debtor is
able to obtain additional information, the Debtor will supplement this report.




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               Exhibit B: Description of Operations for       Eden, Endicott, Dunkirk, Houghton, and Salamanca

               [Describe the nature and extent of the Debtor’s interest in the Controlled Non-Debtor Entity.

               Describe the business conducted and intended to be conducted by the Controlled Non-Debtor Entity, focusing on the
               entity’s dominant business segments.

               Describe the source of this information.]



The Debtor no longer controls the Controlled Non-Debtor Entities nor has access to their facilities or financial
information. However, the Debtor technically owns 54% of the equity interests in the Controlled Non-Debtor Entities'
interests. That having been said, the OTAs effectively provide for the assumption of the profits and losses of the
Controlled Non-Debtor Entities' interests, such that the Debtor has effectively no economic interest in the Controlled
Non-Debtor Entities. The Controlled Non-Debtor Entities are engaged in the business of operating senior care
facilities.




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Debtor Name     Absolut Facilities Management, LLC
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              Exhibit C: Description of Intercompany Claims


              [List and describe the Controlled Non-Debtor Entity’s claims against any other Controlled Non-Debtor Entity, together with
              the basis for such claims and whether each claim is contingent, unliquidated or disputed.

              Describe the source of this information.]




The Debtor is investigating the existence and amount of any intercompany claims between the Debtor and the
Controlled Non-Debtor Entities. To the extent any such claims exist, the Debtor will supplement this report.




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                Absolut Facilities Management, LLC
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              Exhibit D: Allocation of Tax Liabilities and Assets


              [Describe how income, losses, tax payments, tax refunds, or other tax attributes relating to federal, state, or local taxes
              have been allocated between or among the Controlled Non-Debtor Entity and one or more other Controlled Non-Debtor
              Entities.

              Include a copy of each tax sharing or tax allocation agreement to which the entity is a party with any other Controlled
              Non-Debtor Entity.

              Describe the source of this information.]




To the best of the Debtor’s knowledge, the Controlled Non-Debtor Entities no longer have any losses, tax payments, tax
refunds or other tax attributes that are shared with the Debtor. To the extent the Debtor determines otherwise, it will
supplement this report.




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                 Absolut Facilities Management, LLC
                 _______________________________________________________                      Case number_____________________________________




               Exhibit E: Description of Controlled Non-Debtor Entity’s payments of Administrative Expenses, or Professional Fees
               otherwise payable by a Debtor


               [Describe any payment made, or obligations incurred (or claims purchased), by the Controlled Non-Debtor Entity in
               connection with any claims, administrative expenses, or professional fees that have been or could be asserted against
               any Debtor.

               Describe the source of this information.]


Not applicable, to the best of the Debtor’s knowledge. To the extent the Debtor determines otherwise, the Debtor will
supplement this report.




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